        Case 1:19-cv-00877-RP Document 112-10 Filed 09/13/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

EVDOKIA NIKOLOVA,              §
    Plaintiff,                 §
                               §                      CASE NO. 1:19-CV-00877-RP
vs.                            §
                               §
UNIVERSITY OF TEXAS AT AUSTIN, §
     Defendant.                §

                                              ORDER

       Having heard the motion of the prevailing Plaintiff Evdokia Nikolova for an award of

reasonable fees and costs, the Court GRANTS the motion and awards fees, costs, and

postjudgment interest as set forth below:

       a.      A fee of $ 1,259,043.75, detailed as follows:


            Timekeeper                 Hours           Rate                Lodestar Fee
 Robert W. Schmidt                 1,156.80          $625                             $723,000.00
 Robert S. Notzon                  920.05            $575                             $529,028.75
 Robert E. McKnight, Jr.           12.20             $575                               $7,015.00
 Total Hours/Lodestar Fee          2,089.05                                         $1,259,043.75

       b.      Costs (including those in the bill of costs) in the total amount of $64,598.61 (of

which $34,356.27 is allocated to Mr. Schmidt, and $30,242.34 is allocated to Mr. Notzon).

       c.      Postjudgment interest on $ 1,323,642.36 from August 22, 2022.


SIGNED on __________________________, 2022.



                                                      ____________________________________
                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE


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